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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR13-67-RSM
 9
                                   Plaintiff,
10
            v.
11                                                        DETENTION ORDER
12   ENRIQUE OROZCO-ROJAS,

13                                 Defendant.

14
     Offenses charged:
15
            Count 1:        Conspiracy to Distribute a Controlled Substance, in violation of 21
16
                            U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846
17
            Count 2:        Conspiracy to Commit Money Laundering, in violation of 18 U.S.C. §
18                          1956

19   Date of Detention Hearing: March 19, 2013
20          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

22          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
24                  defendant is a flight risk and a danger to the community based on the nature of
25                  the pending charges. Application of the presumption is appropriate in this case.
26


     DETENTION ORDER
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           2.    An immigration detainer has been placed on defendant by the United States
 2
                 Immigration and Customs Enforcement.
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           3.    There are no conditions or combination of conditions other than detention that
 4
                 will reasonably assure the appearance of defendant as required or ensure the
 5
                 safety of the community.
 6
           IT IS THEREFORE ORDERED:
 7
           (1)   Defendant shall be detained and shall be committed to the custody of the
 8
                 Attorney General for confinement in a correction facility separate, to the extent
 9
                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
11
           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
12
                 counsel;
13
           (3)   On order of a court of the United States or on request of an attorney for the
14
                 government, the person in charge of the corrections facility in which defendant
15
                 is confined shall deliver the defendant to a United States Marshal for the
16
                 purpose of an appearance in connection with a court proceeding; and
17
           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
19
                 Pretrial Services Officer.
20
           DATED this 20th day of March, 2013.


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22
                                                JAMES P. DONOHUE
23                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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